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             EXHIBIT K
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LBKG 2019-01-22 no 66

Tax Assessment Act

§ 32 D

As last amended by: L 2017 1555 § 4 paragraph. 1 no. 24

Effective: 2019-01-01

The Minister of Taxation sets the rules on:

1)       Census collection of taxable persons and estates.

2)       In which municipality a taxable person resides or where a taxable estate is located for
         state tax purposes.

3)       Information to be submitted to the Customs and Tax Administration pursuant to section 2
         of the Tax Control Act, and taxation, collection, recovery and remuneration, etc. of tax in
         the following cases:

a)       Where a person has incurred changes in tax liability conditions during the year

b)       Where a person, according to a double taxation treaty, becomes a resident of a foreign
         state, the Faroe Islands or Greenland.

c)       matters relating to estates.
